     Case 3:18-cr-04055-JM Document 5 Filed 11/06/20 PageID.13 Page 1 of 1




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                              UNITED STATES DISTRICT COURT
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                         SOUTHERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,               Case No.: 18cr4055 JM
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                 Plaintiff,
11                                           JUDGMENT AND ORDER
           v.                                DISMISSING INDICTMENT
12                                           WITHOUT PREJUDICE & RECALLING
     ANDRE LORENZO JACKSON,                  ARREST WARRANT
13
                 Defendant.
14
15        IT IS HEREBY ORDERED:
16        Upon good cause shown, the Indictment (ECF #1) returned on September 14, 2018
17 against Defendant ANDRE LORENZO JACKSON is hereby dismissed without prejudice,
18 and the arrest warrant issued on September 14, 2018 (ECF #2) is recalled.
19     IT IS SO ORDERED.
20 DATED: November 5, 2020
                                                      HON. JEFFREY T. MILLER
21                                                    United States District Judge
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